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  5
                           UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
  7
       IN RE: INCRETIN MIMETICS                         Pertains To Civil Action No.:
  8    PRODUCTS LIABILITY
       LITIGATION,                                       3:14-cv-00335-AJB-MDD
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 10                                                  MDL Case No. 13md2452 AJB
      VIRGINIA CAROL HECKHAUS                        (MDD)
 11   INDIVIDUALLY, AND AS
      SURVIVING HEIR OF RICHARD                      ORDER GRANTING JOINT
 12                                                  STIPULATION OF VOLUNTARY
      HECKHAUS, DECEASED AND                         DISMISSAL
 13   VIRGINIA CAROL HECKHAUS AS
      PERSONAL REPRESENTATIVE                        (Doc. No. 4645)
 14   OF THE ESTATE OF RICHARD
 15   HECKHAUS, DECEASE,
 16                   Plaintiff
 17         v.
 18    MERCK SHARP & DOHME CORP.,
 19                   Defendants
 20
            In consideration of the parties’ joint stipulation, IT IS HEREBY ORDERED
 21
      THAT;
 22

 23         1.    The above-entitled action be and hereby is dismissed with prejudice

 24               pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.

 25         2.    Each party will bear its own attorneys’ fees and costs.

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 27   ///

 28   ///


                                  ORDER GRANTING STIPULATION OF DISMISSAL
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  1        3.    Each party waives the right to any appeal.
  2   IT IS SO ORDERED.
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      Dated: October 13, 2021
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                                ORDER GRANTING STIPULATION OF DISMISSAL
